AO 455 (Rev, 5/85) Waiver of Indictment

UNITED STATES DISTRICT COURT

FOR THE
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION
UNITED STATES OF AMERICA WAIVER OF INDICTMENT
V. Criminal No. 3:23-cr- \¢u-HLA-P DY

AMIT PATEL

I, AMIT PATEL, the above named defendant, who is accused of
engaging in (i) wire fraud in violation of 18 U.S.C. § 1343, and (ii) an illegal
monetary transaction, in violation of 18 U.S.C. § 1957, being advised of the
nature of the charges, the proposed Information, and of my rights, hereby
waive prosecution by Indictment and consent that the proceeding may be by
Information rather than by Indictment. Pursuant to Fed. R. Crim. P. 7(b), I
will confirm this waiver in open court at the arraignment or other hearing.

(ax ed

AMIT PATEL
Defendant

Wye

ALEX KING, ESQ.
Counsel for Defendant

Before

Judicial Officer

